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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

UNITED STATES COMMODITY                           §
FUTURES TRADING COMMISSION,                       §
                                                  §
                  Plaintiff,                      §
                                                  §
v.                                                §       Civil Action No. A-12-CV-0862-LY
                                                  §
SENEN POUSA, INVESTMENT                           §
INTELLIGENCE CORPORATION,                         §
DBA PROPHETMAX MANAGED FX,                        §
JOEL FRIANT, MICHAEL DILLARD, and                 §
ELEVATION GROUP, INC.,                            §
                                                  §
                  Defendants.                     §

                 ORDER GRANTING RECEIVER’S UNOPPOSED
              MOTION FOR APPROVAL OF NINTH FEE APPLICATION

       Before the Court is the Receiver’s Unopposed Motion for Approval of Ninth Fee

Application and Brief in Support (“Motion”). Having considered the Motion, the evidence

presented, and arguments of counsel, if any, the Court finds the time spent, services performed,

hourly rates charged, and expenses incurred by the Receiver and his retained professionals were

reasonable and necessary for the Receiver to perform his Court-ordered duties. The Court

concludes the Motion should be, and is hereby, GRANTED.

       It is therefore ORDERED that payment for interim fees and expenses of $74,618.68 to the

Receiver for services rendered to the ProphetMax Receivership Estate and IB Capital Receivership

Estate during the Ninth Fee Period is approved.

       SIGNED this             day of                             , 2019.



                                                      LEE YEAKEL
                                                      UNITED STATES DISTRICT JUDGE
